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                                UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

 In Re:
                                                                                Case No. 1:21-bk-02636

 GERALD J SAWEIKIS and EILEEN T
                                                                                Chapter 13
 SAWEIKIS

                                                                                Honorable Jacqueline P. Cox
                                                 Debtor(s)

                                      REPORT OF DISPOSITION OF CLAIM

           NOW COMES Joseph S. Davidson, formerly of Law Offices of Joseph P. Doyle LLC, in

response to the Court’s August 29, 2022 Order Requiring Report of Disposition of Claim, stating

as follows:

           1.        On February 28, 2021, Gerald J. Saweikis and Eileen T. Saweikis (hereinafter,

referred to as “Debtors”) filed a voluntary petition for relief under Chapter 13, Title 11, United

States Code.

           2.        The Debtors’ Chapter 13 Plan, filed February 28, 2021, which was noticed to

creditors by the Bankruptcy Noticing Center on March 3, 2021, provided:

 Part 3:    Treatment of Secured Claims

                                                                       ***

           3.5       Surrender of collateral

                     Check one:
                 □   None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                 ■   The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The
                     debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the
                     collateral only and that the stay under § 1301 be terminated in all respects. Any allowed unsecured claims
                     resulting from the disposition of the collateral will be treated in Part 5 below.

 Name of Creditor                                                         Collateral
 Dmi/bmo Harris Bank Na                                                   8440 W. 122nd Place Palos Park, IL 60464-3103 Cook County
 Dmi/bmo Harris Bank Na                                                   8440 W. 122nd Place Palos Park, IL 60464-3103 Cook County
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        3.      The Bankruptcy Noticing Center, in accordance with applicable rules, notified the

creditors listed in the Debtors’ schedules of the date set for the meeting of creditors, the last day

for the filing of complaints to determine the dischargeability of debts under 11 U.S.C. § 523(c) or

objections to the discharge of the Debtors, and the deadline for all creditors to file a proof of claim.

        4.      The Notice of Chapter 13 Bankruptcy Case advised creditors that:

                The filing of the case imposed an automatic stay against most collection activities. This
                means that creditors generally may not take action to collect debts form the debtors, the
                debtors' property, and certain codebtors. For example, while the stay is in effect, creditors
                cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try to
                collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone,
                or otherwise. Creditors who violate the stay can be required to pay actual and punitive
                damages and attorney's fees.

        5.      BMO Harris sent a mortgage statement to the Debtors on May 27, 2022.

        6.      The mortgage statement included a “good through” date, amount of past due

payments, and a payment coupon specifying the amount due.

        7.      Furthermore, the mortgage statement specified: “Past Due – Immediate Payment

Required.”

        8.      The monthly statement did not include any express acknowledgement of the

Debtors’ bankruptcy or any indication that payment is voluntary.

        9.      Instead, the monthly statement merely included a boilerplate bankruptcy

disclaimer.

        10.     Indeed, the Mortgage Servicing Rules Under the Truth in Lending Act (Regulation

Z), 83 FR 10553-01 (to be codified at 12 C.F.R. § 1026) proscribes, inter alia, that servicers of

mortgage loans must provide periodic statements “for each billing cycle” of such loans to

consumer obligors. 12 C.F.R. § 1026.41(a)(1)-(2).

        11.     However, there is a bankruptcy exemption when: (a) a “consumer on the mortgage

loan is a debtor in bankruptcy under title 11 of the United States Code or has discharged personal
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liability for the mortgage loan pursuant to 11 U.S.C. §§ 727, 1141, 1228, or 1328”; and (b) one of

four additional conditions are met:

               (1) The consumer requests in writing that the servicer cease providing a
                   periodic statement or coupon book;

               (2) The consumer's bankruptcy plan provides that the consumer will
                   surrender the dwelling securing the mortgage loan, provides for the
                   avoidance of the lien securing the mortgage loan, or otherwise does not
                   provide for, as applicable, the payment of pre-bankruptcy arrearage or
                   the maintenance of payments due under the mortgage loan;

               (3) A court enters an order in the bankruptcy case providing for the
                   avoidance of the lien securing the mortgage loan, lifting the automatic
                   stay pursuant to 11 U.S.C. 362 with regard to the dwelling securing the
                   mortgage loan, or requiring the servicer to cease providing a periodic
                   statement or coupon book; or

               (4) The consumer files with the court overseeing the bankruptcy case a
                   statement of intention pursuant to 11 U.S.C. 521(a) identifying an intent
                   to surrender the dwelling securing the mortgage loan and a consumer
                   has not made any partial or periodic payment on the mortgage loan after
                   the commencement of the consumer's bankruptcy case.

12 C.F.R. § 1026.41(e)(5)(i)(A)-(B). (emphasis added).

       12.     On June 17, 2022, Debtors filed a Motion for Sanctions against BMO Harris Bank,

N.A. (hereinafter, referred to as “BMO Harris”) for Violation of the Automatic Stay. [Dkt. #39].

       13.     In July of 2022, Counsel for Debtors and BMO Harris participated in settlement

discussions.

       14.     Those talks resulted in an agreement that BMO Harris pay $3,000.00 and refrain

from sending mortgage statements to Debtors.

       15.     Within thirty (30) business days following the later of: (i) receipt by counsel for

BMO Harris of copies of the Settlement Agreement which have been duly signed and executed by

Debtors and their counsel; and (ii) execution of the Settlement agreement by BMO Harris’s duly

authorized representatives; and (iii) receipt by BMO Harris of the tax identification information of
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Debtors; and (iv) withdrawal of the Motion, BMO Harris shall tender to Debtors’ counsel a check

in the amount of $3,000.00 made payable to “Law Offices of Joseph P. Doyle LLC.”

       16.     Counsel for BMO Harris is in receipt of Debtors’ executed Settlement Agreement

and tax identification information.

       17.     Moreover, a Notice of Withdrawal of Debtors’ Motion for Sanctions/Damages for

Violation of the Automatic Stay was filed on August 21, 2022 [Dkt. #43] per the Settlement

Agreement.

       18.     Accordingly, BMO Harris shall tender to Debtors’ counsel, Law Offices of Joseph

P Doyle LLC, a check in the amount of $3,000.00—to be disbursed as follows: $1,000.00 to

Debtors and $2,000.00 to Law Offices of Joseph P. Doyle LLC for costs of the action, together

with attorney’s fees incurred. Joseph S. Davidson will receive nothing.

DATED: September 7, 2022                         Respectfully submitted,

                                                 /s/ Joseph S. Davidson

                                                 Joseph S. Davidson
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                                CERTIFICATE OF SERVICE

I hereby certify that on September 7, 2022, I electronically filed the foregoing with the Clerk of
the Court for the United States Bankruptcy Court for the Northern District of Illinois by using the
CM/ECF system.

Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.

I further certify that some of the participants in the case are not CM/ECF users. I have mailed the
foregoing documents by First-Class Mail, postage prepaid, to the following non-CM/ECF
participants:

Gerald J Saweikis                                 Eileen T Saweikis
8440 West 122nd Place                             8440 West 122nd Place
Palos Park, Illinois 60464                        Palos Park, Illinois 60464

                                                  /s/ Joseph S. Davidson
